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14                                 UNITED S TATES DIS TRICT COURT
15                              NORTHERN DIS TRICT OF CALIFORNIA

16                                      S AN FRANCIS CO DIVIS ION

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18
     DELL INC. and DELL PRODUCTS L.P.,                             M aster File No. 3:07-cv-05944-SC
19                                 Plaintiffs,
                                                                   M DL No. 1917
20          v.
                                                                   Individual Case No. 3:13-cv-02171-SC
21   PHILIPS ELECTRONICS NORTH AM ERICA
     CORPORATION, et al.,                                          [PROPOS ED] ORDER REGARDING
22                        Defendants.                              DELL’S ADMINIS TRATIVE
                                                                   MOTION TO FILE DOCUMENTS
23                                                                 UNDER S EAL
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     [PROPOSED] ORDER RE ADMIN. MOTION                                     MASTER FILE NO. 3:07-CV-05944-SC
     TO FILE DOCUMENTS UNDER SEAL                                MDL NO. 1917 │ IND. CASE NO. 3:13-cv-02171-SC
              Case 3:07-cv-05944-JST Document 2258 Filed 12/11/13 Page 2 of 2



 1                                          [PROPOS ED] ORDER

 2           Upon consideration of the Dell Plaintiffs’ Administrative M otion to File Documents Under

 3   Seal, it is hereby

 4           ORDERED that the Administrative M otion is GRANTED; and it is further

 5           ORDERED that the Clerk shall file under seal portions of Dell’s Reply in Support of M otion

 6   for Discovery Order and to Strike Errata and the entirety of Exhibits 1 and 2 to the Reply Declaration

 7   of James M . Wagstaffe in Support of Dell’s M otion for Discovery Order and to Strike Errata.

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 9           December 11
     Dated: ___________________, 2013

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12                                                  The Honorable S amuel Conti
                                                    Northern District of California
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     [PROPOSED] ORDER RE ADMIN. MOTION                                   MASTER FILE NO. 3:07-CV-05944-SC
     TO FILE DOCUMENTS UNDER SEAL                              MDL NO. 1917 │ IND. CASE NO. 3:13-cv-02171-SC
